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ORIGINAL

UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

In re:

Chapter 11
ONCO INVESTMENT COMPANY,

a Delaware corporation, et at., : Jointly Administered

Case No. 04-10558 (JBR)
Debtors,

Re: Docket Nos. 23 & 61

ORDER EXTENDING INTERIM ORDER (1) AUTHORIZING THE DEBTORS TO
(A) OBTAIN POSTPETITION FINANCING PURSUANT TO 11 U.S.C. §§ 105,
361, 362, 363, 364(c)(1), 364(c)(2}, 364(¢}(3} AND 364(d)(1); AND (B} UTILIZE
CASH COLLATERAL PURSUANT TO 11 U.S.C. §§ 105, 361, 362 AND 363;
(1l} GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED LENDERS
PURSUANT TO 11 U.S.C, §§ 105, 361, 362 AND 363; AND (IIT) SCIIEDULING
FINAL HEARING PURSUANT TO BANKRUPTCY RULES 4001(c) AND 9014

 

 

This matter coming before the Court upon the Motion of the Debtors and Debtors
in Possession (the “Debtors” for Interim and Final Orders (1) Authorizing Debtors to (A) Obtain
Post-Pctition Financing Pursuant to 1] U.S.C. $$ 105, 361, 362, 363, 364¢cW1}, 364(c)(2), 364
(c)(3) and 364(¢d)(1), (B) Utilize Cash Collateral and Other Collateral Pursuant to 11 L.S.C. §§
105, 361, 362, 363, And (10) Granting Adequate Protection to Pre-Petition Secured Lenders
Pursuant to 11 U.S.C. $$ 105, 361, 362, 363, and 364 and {II} Scheduling Final Hearing
Pursuant 1 Bankruptcy Rule 4001(c) and 9014 (Docket No. 23), filed on February 23, 2004
(the “Maotion”}!, the Court having enlered the Interim Order on February 25, 2004 (Docket No.
67) (the “Interim Order"), the Debtors, the DIP Lenders, the Prepetition Secured Lenders, the
statutory comimittes of unsceurcd creditors (the “GOlficial Committee”), and the ad hoc committee
of Senior Secured Noteholders (the “Mezzanine Ad [loc Committee} having agreed that {i} the

Final Ilearing, previously scheduled for March 22, 27004 (the “Final Hearing”) should be

 

Capitalized terms not othemvise defined berein shall have the meanings given to them in the Motion,

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adjourned for a period of time in order that the parties may attempt to resolve certain open issues
among them and {ii} the peried during which the Debtors may borrow under the DIP Facility and
use Cash Collateral to fund their operations on an interim basis under the terms and conditions
set forth in the Interim Order would be extended through and including the Adjourned Final
Pearing Date (as such term is defined below} to accommodate the forcpoing agreement to
adjourn the Vinal Hearing; and the Court (i) having reviewed the Motion and all pleadings
relating thereto and (ii) having heard the statements of counsel regarding the relicf granted
hereby; and after due deliberation and good and sufficient cause appearing therefor,

NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

1, The Final Hearing is adjourned and scheduled iu be conducted on April 7,
2004 at 1:00 p.m. (Eastern Time) {the "Adjourned Final Hearing Date") in the courtroom of the
Honorable Bankruptcy Judge Joel B. Rosenthal, United States Bankruptcy Court for the District
of Massachusetts, Donahue Federal Building, $95 Main Street, Room 211, Worcester, MA
01608.

2. The Debtors’ authority to borrow under the DIP Facility and to use Cash
Collateral on the terms and subject to the conditions of the Interim Order hereby is extended
through and including the Adjourned Final Hearing Date.
3. The laterim Order shall remain in full force and effect, and the DIP
Lenders and the Prepetition Secured Lenders shall be entitled to all of the rights and protections
provided thereunder through and including the Adjourned Pinal Hearing Date.

4, The Bebtors shall promptly serve a notice of the Adjourned Final Hearing
Date on the United States ‘Trustee, counsel to the Official Committee, current counsel to the

Mezzanine Ad Hoc Committee, counsel to the DIP Lenders, counsel to the Prepetition Secured

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Tenders, any parties that have objected in the final grant of the relief requested in the Motion and

      

any aiher partics that have filed meee)

  

 

Dated: March 22, 2004 PRUE Opp

INORABLE ICEL B. ROSENTHAL
NITED STATES BANKRUPTCY JUDGE

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